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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. _______________

 THEODORA WILLIAMS,

        Plaintiff,

 vs.

 TARGET CORPORATION,

      Defendant.
 ___________________________/

                                   NOTICE OF REMOVAL

        The Defendant, Target Corporation, (hereinafter “TARGET”), by and through its

 undersigned counsel, hereby files this Notice of Removal in the above-styled cause to the

 United States District Court, Southern District of Florida, on the following grounds:

        1.      This cause was originally filed by the Plaintiff in the Circuit Court of the

 Eleventh Judicial Circuit in and for Miami-Dade County, Florida, as Case No. 2018-10447-

 CA-01.

        2.      This suit is a personal injury civil action in which the Plaintiff, Theodora

 Williams, alleged that the Defendant is liable under a negligence theory for damages

 suffered by the Plaintiff.

        3.      28 U.S.C. §1332 confers original jurisdiction on the federal courts for all

 “civil actions where the matter in controversy exceeds the sum or value of $75,000,

 exclusive of interest and costs, and is between…citizens of different States.”

        4.      The instant suit is one which the District Court of the United States has

 original jurisdiction since it involves a controversy exclusively between citizens of different
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 states and the matter in controversy exceeds the sum of $75,000, exclusive of interest

 and costs.

        5.    With respect to the diversity of the parties, Plaintiff is a citizen of Florida and

 the Defendant is a citizen of Minnesota.

        6.     At all times material hereto, Plaintiff has been domiciled in the State of

 Florida.

        7.     “With respect to the diversity jurisdiction of the federal courts, citizenship

 has the same meaning as domicile.” Stine v. Moore, 213 F.2d 446, 448 (5th Cir. 1954).

 “Residence alone is not the equivalent of citizenship, although the place of residence is

 prima facie the domicile; and citizenship is not necessarily lost by protected absence from

 home, where the intention to return remains.” Id.

        8.     “Courts have acknowledged the usefulness of certain presumptions with

 respect to a person's domicile.” Audi Performance & Racing, LLC v. Kasberger, 273 F.

 Supp. 2d 1220, 1226 (M.D. Ala. 2003) citing Mitchell v. United States, 88 U.S. (21 Wall.)

 350, 352, 22 L.Ed. 584 (1874) (listing useful presumptions); McDonald v. Equitable Life

 Ins. Co. of Iowa, 13 F.Supp.2d 1279, 1281 (M.D.Ala.1998).

        9.     The first presumption is “that the state in which a person resides at any

 given time is also that person's domicile.” Audi citing McDonald, 13 F.Supp.2d at 1281

 (citing District of Columbia v. Murphy, 314 U.S. 441, 455, 62 S.Ct. 303, 86 L.Ed. 329

 (1941), and Stine v. Moore, 213 F.2d 446, 448 (5th Cir.1954)). Second, “once an

 individual has established a domicile, he remains a citizen there until he satisfies the

 mental and physical requirements of domicile in a new state.” McDonald, 13 F.Supp.2d

 at 1281 (citing McDougald v. Jenson, 786 F.2d 1465, 1483 (11th Cir.1986)).



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          10.      “The objective facts bearing on an individual's ‘entire course of conduct’

 determine domicile for diversity jurisdiction purposes.” Jones v. Law Firm of Hill &

 Ponton, 141 F. Supp. 2d 1349, 1355 (M.D. Fla. 2001) citing Stine, 213 F.2d at 448.

          11.      “No single factor is conclusive; instead, the Court looks to the ‘totality of

 evidence.’” Id.

          12.      At all material times Plaintiff has been domiciled in the State of Florida. The

 “presumption” of Plaintiff’s domicile is supported by several sources confirming that

 Plaintiff resides in the State of Florida.

          13.      Plaintiff’s Complaint alleged that Plaintiff “is a resident of the State of Florida

 whose primary residence in Miami-Dade County.” A copy of the Complaint is attached

 hereto as Exhibit A.

          14.      The Florida Department of Motor Vehicles has confirmed that Plaintiff

 Williams has a valid Florida Driver’s License with an expiration date in 2021, which lists

 an address in Miami, Florida.1

          15.      Plaintiff’s counsel sent a Settlement Demand Letter dated October 31,

 2017, which provided copies of medical records that referenced a home address for

 Plaintiff in Miami, Florida. A redacted2 copy of the October 31, 2017, Settlement Demand

 Letter with a selection of redacted medical records that referenced the Miami, Florida,


 1
    Plaintiff’s Florida Driver’s License Number has been withheld in accordance with Federal Rule of Civil Procedure
 5.2, and Section 6 of the CM/ECF Administrative Procedures for the Southern District of Florida to protect the privacy
 of Plaintiff. Plaintiff’s Florida Driver’s License Number can be made available to the Court and Plaintiff upon request.
 2
   Plaintiff produced extensive medical records and bills in support of her Settlement Demand Letter. Target redacted
 the Settlement Demand Letter with a small selection of the medical bills and one record, which are attached to this
 Notice. Target redacted these materials and did not attach to this Notice the extensive medical records produced by
 the Plaintiff to protect the Plaintiff’s privacy rights pursuant to Federal Rule of Civil Procedure 5.2, Section 6 of the
 CM/ECF Administrative Procedures for the Southern District of Florida, as well as those rules and regulations
 governed by the Health Insurance Portability and Accountability Act (HIPAA). Unredacted copies of these documents
 and a complete set of the medical bills and records produced by the Plaintiff are available for review by the Court
 upon request.

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 address are attached hereto as Exhibit B.

        16.    Further, on the date of the Target Incident, Plaintiff Williams completed a

 Guest Incident Report and disclosed a Miami, Florida, home address.

        17.    “Citizenship is equivalent to ‘domicile’ for the purposes of diversity

 jurisdiction.” Jakobot v. Am. Airlines, Inc., No. 10-61576-CIV, 2011 WL 2457915, at *2

 (S.D. Fla. June 20, 2011) citing McCormick v. Aderholt, 293 F.3d 1254, 1257 (11th

 Cir.2002)

        18.    Therefore, Plaintiff is domiciled in the State of Florida and is, accordingly, a

 citizen of Florida. Stine, Supra.

        19.    At the time that both the Complaint and the Notice of Removal were filed in

 this cause, and at all times material hereto, Target was, and is, a Minnesota corporation

 with its principal place of business located in Minneapolis, Minnesota.

        20.     “For purposes of diversity jurisdiction, a corporation is a citizen of both the

 state where it is incorporated and the state where it has its principal place of business.”

 Werner v. Busch Entertainment Corp., 2006 WL 2644920, 1 (MD Fla. 2006) citing

 MacGinnitie v. Hobbs Group LLC, 420 F.3d 1234, 1239 (11th Cir. 2005).

        21.    The “nerve center” test is used to determine a corporation’s principal place

 of business when the corporation’s physical activities are dispersed across several states.

 The nerve center test determines a principal place of business by using the location of

 the corporation’s corporate offices or headquarters. See Hertz Corp. v. Friend, 130 S.

 Ct. 1181 (2010). Under the nerve center test, Target’s principal place of business is in

 Minnesota.

        22.    Target has filed the necessary documents with the Florida Secretary of



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 State to establish that it is a corporation organized under the laws of Minnesota. A

 certified copy of Target’s Certificate of Status issued by the Florida Department of State

 attesting that Target is a corporation organized under the laws of the State of Minnesota

 is attached hereto as Exhibit C.

       23.    The Florida Secretary of State’s records, including those public records

 found online at the Secretary of State’s website at www.sunbiz.org such as the 2018

 Annual Report of Target Corporation, confirm that Target’s principal place of business

 and principal address are in Minnesota.           A copy of Target’s 2018 Foreign Profit

 Corporation Annual Report found online at the Secretary of State’s website are attached

 hereto as Exhibit D.

       24.    Target’s Senior Corporate Counsel, Daniel Moore, has personal knowledge

 regarding Target’s operations. Daniel Moore’s Affidavit, attached hereto as Exhibit E,

 states inter alia that Target’s corporate Headquarters and Executive Offices were and are

 located in Minneapolis, Minnesota. Daniel Moore further attests that Target’s managerial

 and policymaking functions were and are performed from Target’s Headquarters in

 Minnesota. Additionally, Target’s corporate books, records, and accounts were and are

 created and maintained at Target’s Headquarters in Minnesota.

       25.    For purposes of determining jurisdiction under 28 U.S.C. §1332, a

 corporation is treated as a citizen of any state by which it has been incorporated and the

 state where it has its principal place of business. See 28 U.S.C. §1332(c)(1).

       26.    Accordingly, Target was and is a Minnesota corporation and is therefore a

 citizen of Minnesota for the purposes of 28 U.S.C. §1332.

       27.    Given that Plaintiff is a citizen of Florida and Target is a citizen of Minnesota,



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 there is the requisite diversity of citizenship between the parties allowing the Court to take

 jurisdiction over this action pursuant to 28 U.S.C. §1332.

        28.    The matter in controversy exceeds the sum or value of $75,000, exclusive

 of interest, costs and attorney’s fees.

        29.    When it is not apparent from the face of the Complaint that the jurisdictional

 amount is met, the Court can consider “other papers” received by the defendant to

 determine if the case is removable. See Jade East Towers Developers v. Nationwide

 Mutual Ins. Co., 936 F.Supp. 890 (N.D.Fla.1996).

        30.    Before suit was filed Target received from Plaintiff’s counsel a Settlement

 Demand Letter dated October 31, 2017. The Settlement Demand Letter set forth a

 settlement demand of $275,000. A redacted copy of the Settlement Demand Letter is

 attached hereto as Exhibit B. The $275,000 demand establishes that the amount in

 controversy exceeds the jurisdictional threshold of $75,000.

        31.    Plaintiff’s settlement demand of $275,000 is based on Plaintiff’s

 assessment of the value of her damages and her medical professionals' advice. The

 Settlement Demand Letter included a description of Plaintiff’s treatment history and

 copies of her medical records and bills. The letter indicated that Plaintiff is claiming as a

 result of this incident that she sustained injuries to her lumbar spine, cervical spine, left

 knee and left shoulder. She had lumbar epidural injections and claims she is a candidate

 for a lumbar interbody fusion surgery that has an estimated cost of $70,000 to $80,000.

        32.    Further, Plaintiff claimed in her Settlement Demand and alleged in the

 Complaint that she is seeking damages for loss of past earnings and loss of ability to earn

 money in the future.



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        33.    The Settlement Demand also states as follows:

        The economic damages in this case include: (1) past medical expenses of
        approximately $35,000, (2) future medical expenses for surgery and follow-
        up treatment of approximately $70,000 - $80,000, (3) lost past wages of
        approximately $40,000 and (4) lost future wages for the remainder of her
        work-life expectancy if she remains unable to secure employment in her
        chose field or earn to her previous levels. This does not account for Ms.
        Williams’ past and future pain and suffering, which is often the highest
        component of jury awards here in South Florida.

        34.    Plaintiff also alleged in the Complaint the she suffered the following

 damages:

        Plaintiff suffered bodily injury resulting in pain and suffering, disability,
        physical impairment, disfigurement, mental anguish, inconvenience, loss of
        capacity for the enjoyment of life, lost wages and the incurrence of medical
        expenses in the treatment of her injuries in the past and future; these injures
        and damages are permanent and continuing in nature and Plaintiff will suffer
        the injuries and damages in the future.

        35.    Target has established that the amount in controversy is above the $75,000

 jurisdictional threshold. Plaintiff's settlement demand of $275,000 alone establishes the

 amount in controversy.      Alternatively, the amount in controversy is established by

 Plaintiff’s past medical expenses of $35,000 plus future claimed medical expenses of

 $70,000 to $80,000, plus the claim for past lost wage in the amount of $40,000, plus the

 claim for loss of future earning capacity, in addition to the additional categories of claimed

 damages as alleged in the Compliant.

        36.    Plaintiff’s pre-suit Settlement Demand provided the first “other papers”

 which allowed the Defendant to ascertain that the case was removable.

        37.    This Notice is timely filed. The removal of this cause is authorized by the

 provisions of 28 U.S.C. §1441(b). Taking into consideration the Settlement Demand

 received pre-suit, the case became removable on May 4, 2018, by Target’s receipt of the



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 Complaint, at which time it was first ascertained that the case is one which is, or has

 become, removable because the requisite amount in controversy was established. 28

 U.S. C. § 1446(b); See Field v. Nat'l Life Ins. Co., 2001 WL 77101 (M.D. Fla. 2001).

        38.    Accordingly, Target has established the requisite diversity of citizenship

 between the parties and that the amount in controversy exceeds $75,000.

        39.    Written notice of the filing of the Notice of Removal, on this date, has been

 given to Plaintiff through her attorney. A copy of this Notice has, on this date, been filed

 with the Clerk of the Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade

 County, Florida.

        40.    A copy of all process, pleadings, and papers served and filed in the

 aforementioned state court action, which are not attached as other Exhibits to this Notice

 of Removal, is attached to this Notice of Removal as Exhibit F.

        WHEREFORE, the Defendant, TARGET CORPORATION, requests that this

 Court assume jurisdiction of this case and approve the Notice of Removal.




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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 31, 2018 I electronically filed the foregoing with
 the Clerk of the Court for the United States District Court, Southern District of Florida, by
 using the CM/ECF system and served by email to: JOSEPH T. DUNN, ESQ.
 (Joe@RosenbergCummings.com;                               paul@rosenbergcummings.com;
 scheduling@rosenbergcummings.com); Rosenberg Cummings & Edwards PLLC,
 Counsel for Plaintiff, 802 N.E. 20th Avenue, Fort Lauderdale, FL 33304.



                                                   BOWMAN AND BROOKE, LLP
                                                   Attorneys for Target Corporation

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